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                                                                     Saturday, 18 March, 2023 07:14:16 PM
                                                                             Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

Tim Tribble, individually and on behalf of all                    2:23-cv-02060
others similarly situated,
                                 Plaintiff,

                   - against -                                Class Action Complaint

Adidas America, Inc.,
                                                               Jury Trial Demanded
                                 Defendant

       Plaintiff alleges upon information and belief, except for allegations about Plaintiff, which

are based on personal knowledge:


       1.    Adidas America, Inc. (“Defendant”) manufactures, manufactures, labels, markets,

and sells NHL (National Hockey League) jerseys represented as “authentic” under the Adidas

brand (the “Product”).
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       2.    Sales of sports merchandise in the United States is close to $20 billion per year.

       3.    This generates millions of dollars for teams through royalties and is an increasingly

important revenue source.

       4.    According to the author of The Fastest Game in the World: Hockey and the

Globalization of Sports, “The current popularity of the[se] colorful, oversized shirts is the result

of changes in marketing and fan culture, in hockey as well as other sports.”1

       5.    Until relatively recently, “fans went to the arena in everyday street clothes,” and “The

trend of putting on what the players wore first emerged in European soccer in the 1980s.”

       6.    Berglund noted that “NHL crowds from the early ‘90s show that most fans didn’t

give second thought to what they wore.”

       7.    However, just “A decade later, [] Detroit’s Joe Louis Arena was awash in red and

white [jerseys and team apparel] when the Red Wings won the cup.”




1
    Bruce Berglund, How Hockey Jerseys Became Standard Wear for Fans
https://www.ucpress.edu/blog/53836/how-hockey-jerseys-became-standard-wear-for-fans/
University of California Press Blog December 18, 2021


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I.    RISE IN POPULARITY OF TEAM JERSEYS

       8.     Observers credit the jerseys of the Los Angeles Kings, San Jose Sharks and Anaheim

Mighty Ducks with showing franchises how lucrative jerseys and team apparel could be.

       9.     The colors and design of these teams’ jerseys in the early 1990s was a spark to all

professional hockey teams that this was a lucrative growth area.

       10.    The fashion designer Tommy Hilfiger remarked that hockey jerseys were unique

amongst other professional sports because of their “great shape and appealing colors” “And it’s

cool because hockey is kind of a rough sport.”

       11.    One sociologist explained commitment to a particular sports team “crosses many

areas of society such as wealth, position, race, and religion.”2

       12.    The most significant – and expensive – of such merchandise is the team jersey, often

bearing the name of the wearer’s favorite player.

       13.    The jersey signifies the fan’s loyalty to his or his team and provides an opportunity

to enhance a relationship with the team.

       14.    One apparel executive recognized this fact, stating “We’re selling emotion, observed

not just a product.”3

       15.    This is supported by relatively low sales for specialty jerseys designed to mark an

event or occasion, as opposed to standard jerseys players wear on-ice each night.4




2
  Norm O’Reilly, et al., “Merchandise sales rank in professional sport: Purchase drivers and
implications for National Hockey League clubs,” Sport, Business and Management: An
International Journal (2015).
3
  Tim Layden, We are what we wear: How sports jerseys became ubiquitous in the U.S., Sports
Illustrated, Feb. 1, 2016.
4
  https://keenerjerseys.com/jerseys-unite-teams-fans-and-communities/


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II.     VARIETIES OF JERSEYS

          16.   National retailer Dick’s Sporting Goods identified the three types of hockey jerseys

as Authentic, Official, and Replica.5

          17.   According to Dick’s, “Not all jerseys are cut from the same cloth,” because “Some

might be designed for in-game action, while others are best suited for your gameday party.”

          18.   By knowing the “differences between authentic and replica jerseys,” fans can “match

[their] gear to [their] needs.”

          19.   Hockey jerseys identified as “authentic” “are the on-ice apparel worn by your

favorite professional team.”

          20.   This is consistent with historical usage and understanding, because for decades,

“authentic” in the context of NHL jerseys referred to jerseys worn on the ice by NHL players.

          21.   Adidas has even argued to federal courts that there is a difference between what it

currently sells to consumers and what those same consumers want to and think they are buying,

noting that “a replica uniform will not be ‘authentic’ and, therefore, not desirable to consumers

unless it contains all the elements of the uniform worn in competition.”

          22.   There are several distinct criteria to identify authentic hockey jerseys.

          23.   First, authentic hockey jerseys have “a tailored fit and premium fabric.”

          24.   Second, “authentic hockey jerseys [have] the included fight strap [], the added fabric

that helps players keep their sweater from being pulled over their eyes during a scrum.”

          25.   Third, authentic hockey jerseys use “moisture-wicking technologies to keep fans dry

whether on the ice or in the stands.”

          26.   Fourth, authentic hockey jerseys have “Twill numbers and lettering,” indicative of



5
    Authentic vs. Replica Jerseys: What’s the Difference?, Pro Tips, Dick’s Sporting Goods.


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their “premium craftsmanship.”

         27.   In contrast to authentic hockey jerseys, replicas “often feature screen printed or iron-

on letters and numbering” and “use[s] lesser grade fabrics.”

         28.   Dick’s recommends that replicas “can be good for fans wanting apparel resembling

pro-grade without breaking the bank.” (emphasis added).

III. JERSEYS MISLEADINGLY IDENTIFIED AS “AUTHENTIC”

         29.   Consumers purchasing NHL jerseys marketed as “authentic” by the company which

makes the jerseys worn by NHL teams will expect they are purchasing jerseys identical to those

worn on the ice by NHL players.6

         30.   On its website and in digital, print, radio and/or television marketing, Defendant

promotes the jerseys as “The Official Home Game Jersey of the Winnipeg Jets,” telling hockey

fans it is an “authentic home game jersey,” “Imported” and “Officially licensed by the NHL.”




6
    AJ Strong, Stop Calling Adidas NHL Jerseys Authentic, Teal Town USA, June 29, 2021.


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       31.   Defendant authorizes third-parties, such as Fanatics.com, official team stores, and

the NHL to sell its jerseys and provides them with specific language to use in its marketing.

       32.   At its instructions and directions, third-party stores and websites such as fanatics.com

identify these jerseys as “authentic” by labeling them with names such as “Authentic Pro Player

Jersey.”




       33.   Defendant capitalizes on consumers believing and expecting the jerseys are

authentic, shown through one website description that “this jersey is the same as the one Oilers

players wear when the puck drops on the road.”7

       OILERS AWAY AUTHENTIC PRO JERSEY

       THE OFFICIAL AWAY GAME JERSEY OF THE EDMONTON OILERS.

       Celebrate Edmonton hockey as they turn up the intensity away from home.
       Featuring an authentic tie-down fight strap with a hook-and-loop and snap closure,
       this jersey is the same as the one Oilers players wear when the puck drops on the
       road. The relaxed fit provides extra room.


7
 The representations for the team identified here are substantially similar or identical to those
made for all NHL teams.


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       34.   Defendant describes its “Authentic Pro Player jersey” for the Detroit Red Wings as

“Featuring sewn-on team graphics, a tie-down fight strap and moisture-absorbing AEROREADY

fabric, this jersey features the same details that Dylan Larkin wears on game day.”




       35.   That these jerseys are “the same as [] players wear” is confirmed to purchasers due

to features which would only be relevant in on-ice jerseys, by highlighting its functionality.

       36.   These include its promotion of “AEROREADY [which] keeps you cool and dry,”

“[A] mesh underarm insert,” “Primegreen, a series of high-performance recycled materials,”

“Loose fit,” “Moisture absorbing” and having an “Authentic tie-down fight strap with a hook-and-

loop snap closure.”




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        37.   A “fight strap” refers to the attachment on a hockey jersey which keeps it on the

wearer during a fight and prevents a player from having their jerseys pulled over their head,

rendering them vulnerable to the opposing player.

        38.   There is no reason to include a “fight strap” on a jersey that is not meant to be worn

on-ice, because this is solely a utilitarian feature relevant to being on skates in a hockey fight.

        39.   By emphasizing that the Product is made with a fight strap, consumers will expect it

is identical to on-ice jersey.

        40.   However, despite the representations as “authentic,” the jerseys are not those worn

on-ice by NHL players.

        41.   The jerseys have more in common with what is commonly described as “replica” or

even counterfeit authentic jerseys than those worn by players on the ice during games.

        42.   First, the fight straps in Defendant’s authentic jerseys are lower quality than in the

on-ice jerseys worn by the players.

        43.   In the on-ice jersey, the fight strap contains a double layered reinforced base, while


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it is affixed through a single stitched layer in the authentic jersey sold to Plaintiff and consumers.

                            On-ice Jersey                    Authentic




       44.    This is visible when the two are closely compared, because the fight strap on

Defendant’s authentic jerseys (top) are not as thickly or securely attached to the fabric as the on-

ice jerseys (bottom).




       45.    Second, the fabric in the authentic jerseys (top) is half the thickness of the fabric used

in the on-ice jerseys (bottom) worn by NHL players.




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       46.    While it is not possible to view the thickness side-by-side through the flat picture,

the neck area of the authentic jerseys is noticeably thinner than the same area of the on-ice jerseys.

       47.    Third, the stitching used in the authentic jerseys (left) is weaker and less durable than

in the on-ice jerseys (right). worn by NHL players.




       48.    In the authentic jerseys, the seam inside the red circle does not even look sewn

together by stiches, compared to the same area in the on-ice jerseys, which shows multiple cross-


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stiches between the two parts of the jersey.

       49.   Fourth, the neck hole in on-ice jerseys (top) is smaller than in Defendant’s jerseys

(bottom).




       50.   Fifth, the “dimples” or small holes throughout the fabric are significantly different.




       51.   In the on-ice jerseys (top), the dimples are significantly larger, because they were

created through the machines which mechanically press the jersey.

       52.   The dimples in the authentic jerseys (bottom) appear added solely for aesthetics.




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         53.   This difference is relevant because these small holes allow air to flow through the

jersey, an important feature relevant to its on-ice performance.

         54.   The smaller dimples in the Adidas authentic jerseys render them less efficient at

dealing with moisture and airflow than the on-ice jerseys.

         55.   Sixth, the logos, numbers, stripes, and names on the authentic jerseys are generally

applied via heat pressing instead of the double-stitching on the on-ice jerseys.

         56.   Seventh, the authentic jerseys are “Made in Indonesia” while the on-ice jerseys are

“Made in Canada.”

         57.   Canada is generally considered a more technologically advanced nation than

Indonesia, which produces higher quality garments and textiles.

         58.   Canada is also “the Birthplace of [ice] hockey,” where “[I]t originated around 1800”

“in Windsor, Nova Scotia.”8

         59.   As the world leader – and inventor of hockey – Canada has institutional knowledge

of all aspects of this winter sport, passed down through generations of craftsmen.

         60.   In contrast, the tropical temperature of Indonesia has never been suitable for playing

ice hockey.

         61.   The relevance of the smallest details on a hockey jersey are more easily recognized

in the place hockey was invented than anywhere else.

         62.   The authentic jerseys (middle) are closer to counterfeit Adidas NHL jerseys (bottom)

than to those worn on the ice by NHL players (top).




8
    Garth Vaughan, Origin Overview Quotes Prove Ice Hockey’s Origin, 1999.


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        63.   The representation of the Product as “authentic” is misleading, because they are more

accurately described as “replicas.”

        64.   Defendant has been aware that eagle-eyed consumers have discovered the

differences between its authentic jerseys and those worn by players on the ice.

        65.   First, a website devoted to covering the San Jose Sharks, TealTownUsa.com,

published an article by AJ Strong, entitled, “Stop Calling Adidas NHL Jerseys Authentic,” in June

2021.

        66.   Strong provided detailed facts about why “it’s disingenuous and misleading for

Adidas to call [the jerseys] ‘authentic’ or ‘authentic pro’” and recommended “Adidas [] call[s]

those jerseys what they are… replicas.”

        67.   Strong also notified Adidas that the prices of their “authentic” jerseys were $50

greater than what comparable replica NHL jerseys are sold for.

        68.   Second, another fan of the San Jose Sharks, the well-known memorabilia and video

game blogger known as “Rezrection,” expounded on Strong’s points about these jerseys.


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       69.    Rezrection posted a video to his YouTube channel entitled, “Do Not Buy Adidas

NHL Authentic Hockey Jerseys Before Watching This Video! What You Need To Know!”

       70.    Over nine minutes, Rezrection isolated numerous ways in which the authentic Adidas

NHL jerseys were deficient compared to the on-ice jerseys.

       71.    Rezrection cautioned his viewers to be careful about paying almost as much for the

authentic jerseys as the on-ice jerseys would cost, given what he described as stark differences in

quality.

       72.    Hockey fans at the popular website reddit.com weighed in on the controversy.

       73.    One commenter posited that “[T]he reason they market the current Indodidas as

‘authentic’ is because … Fanatics has the contract to sell replicas.”9

       74.    This is why Adidas “slap[s] a fight strap on some incredibly cheap replicas and brand

them as ‘authentic.’”

       75.    However, “If Adidas were to bring the MiC [Made in Canada worn by players] to

retail and market it (or even quietly hang one in the team store next to the Indos), the illusion that

the current retail jerseys are authentic would be broken in the eyes of the average fan.”

       76.    The result would be that “Adidas would lose out on sales on the far more lucrative

replica ‘authentic’ market that they currently have cornered.”

       77.    Another user remarked that:

                        It’s not just calling them authentic. It’s saying stuff
                        like “the official home game jersey” or the fact that
                        in the beginning they were marketed as “on ice”
                        jerseys, which they clearly are not.

                        To those who don’t follow this stuff, they would
                        think they are getting what the players wear and they

9
  Stop Calling Adidas NHL Jerseys Authentic - Teal Town USA, Reddit.com; Indodidas used by
poster to refer to Indonesian-made “authentic” jerseys instead of Canadian-made actual authentic
jerseys worn by NHL players.


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                          most definitely are not.




       78.      Adidas, like most large companies, regularly monitors social media for mentions of

its brand, and was informed, directly or through its agents, of the issues identified by Strong and

Rezrection.

                                           Jurisdiction and Venue

       79.      Jurisdiction is based on the Class Action Fairness Act of 2005 (“CAFA”). 28 U.S.C.

§ 1332(d)(2).

       80.      The aggregate amount in controversy exceeds $5 million, including any statutory and

punitive damages, exclusive of interest and costs.

       81.      Plaintiff is a citizen of Illinois.

       82.      Defendant is a citizen of Oregon.

       83.      The class of persons Plaintiff seeks to represent includes persons who are citizens of

different states from which Defendant is a citizen.

       84.      The members of the class Plaintiff seeks to represent are more than 100, because the

Adidas authentic jerseys are sold to consumers from its website, third-party retail sporting goods

stores and websites, team shops at NHL arenas, and licensed apparel retailers in the States Plaintiff

seeks to represent for the past several years.


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        85.    Venue is in this District with assignment to the Urbana Division because a substantial

part of the events or omissions giving rise to these claims occurred in Coles County, including

Plaintiff’s purchase, reliance on the identified statements, and/or subsequent awareness they were

false and misleading.

                                                Parties

        86.    Plaintiff Tim Tribble is a citizen of Charleston, Coles County, Illinois.

        87.    Defendant Adidas America, Inc. is an Oregon corporation with a principal place of

business in Portland, Oregon, Multnomah County.

        88.    Adidas manufactures uniforms, including jerseys, for the National Hockey League.

        89.    Consumers know they can trust a sportswear product with Adidas’ well-known three

stripes to deliver what it promises.

        90.    Plaintiff purchased the Adidas authentic NHL jerseys including the Winnipeg Jets

White Reverse Retro 2.0 Authentic Jersey identified above within the past two years at locations

including official NHL retailers online and/or in person, for close to $200.

        91.    Plaintiff believed the Product was authentic, understood as being the same jersey that

the Winnipeg Jets wear during hockey games, from the fight strap to the dimples to the stitching

and the fit.

        92.    Plaintiff relied on the Product’s features such as its fight strap, to believe it was the

one worn on ice by the players.

        93.    Plaintiff read, reviewed, and relied on Defendant’s representations that the jerseys

were authentic and/or was exposed to its language on the hang tags and internet sites that he was

buying the same jerseys worn by players “when the puck drops” on the ice.

        94.    Plaintiff was aware the jerseys had features such as an “authentic tie-down fight strap




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with a hook-and-loop and snap closure,” which serve no purpose in a jersey not designed and sold

for use on the ice by NHL players.

       95.    Plaintiff bought the Product because he expected it was authentic, and the same

jersey that NHL players wear during hockey games, from the fight strap to the dimples to the

stitching and the fit, because that is what the representations said and implied.

       96.    As a result of the false and misleading representations, the Adidas “authentic” jerseys

are sold at premium prices, approximately not less than $150, excluding tax and sales.

       97.    Plaintiff relied on the words, descriptions, layout, tags, images, and website

descriptions on Defendant’s site and those of its third-party partners, about its authentic jerseys.

       98.    Plaintiff was disappointed because he believed the Product was authentic, understood

as being identical to that worn on the ice by NHL players during games, even though it was not

the same jersey worn by members of the Winnipeg Jets and other NHL players.

       99.    Plaintiff bought the Product at or exceeding the above-referenced price.

       100. Plaintiff would not have purchased the Product if he knew the jerseys were not

identical to those worn on the ice by NHL players, or would have paid less for them.

       101. Plaintiff chose between Defendant’s Product and products represented similarly, but

which did not misrepresent their attributes, features, and/or components, as those worn on the ice

by NHL players.

       102. Plaintiff paid more for the Product than he would have had he known the

representations and omissions were false and misleading, or would not have purchased it.

       103. The value of the Product that Plaintiff purchased was materially less than its value

as represented by Defendant.

       104. Plaintiff intends to, seeks to, and would purchase Adidas authentic jerseys again




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when he can do so with assurances those jerseys were identical to those worn on the ice by NHL

players.

       105. Plaintiff is unable to rely on the labeling of not only Adidas authentic NHL jerseys,

but other sports apparel represented as authentic, because he will be unsure of whether those

representations are truthful.

       106. If Defendant was compelled to truthfully describe its hockey jerseys as “replicas”

and not “authentic,” Plaintiff would have more confidence in the promises of other companies

selling sportswear described as authentic.

                                         Class Allegations

       107. Plaintiff seeks certification under Fed. R. Civ. P. 23 of the following classes:

                       Illinois Class: All persons in the State of Illinois who
                       purchased the Product during the statutes of
                       limitations for each cause of action alleged; and

                       Consumer Fraud Multi-State Class: All persons in
                       the States of South Carolina, Kentucky, Mississippi,
                       South Dakota, Iowa, Maine and West Virginia, who
                       purchased the Product during the statutes of
                       limitations for each cause of action alleged.

       108. Common questions of issues, law, and fact predominate and include whether

Defendant’s representations were and are misleading and if Plaintiff and class members are entitled

to damages.

       109. Plaintiff’s claims and basis for relief are typical to other members because all were

subjected to the same unfair, misleading, and deceptive representations, omissions, and actions.

       110. Plaintiff is an adequate representative because his interests do not conflict with other

members.

       111. No individual inquiry is necessary since the focus is only on Defendant’s practices

and the class is definable and ascertainable.


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        112. Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

        113. Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

        114. Plaintiff seeks class-wide injunctive relief because the practices continue.

                   Illinois Consumer Fraud and Deceptive Business Practices Act
                                 (“ICFA”), 815 ILCS 505/1, et seq.
                                          (Illinois Class)

        115. Plaintiff incorporates by reference all preceding paragraphs.

        116. Plaintiff purchased the Product believing it was authentic, understood as being the

same jersey that NHL players wear during hockey games, from the fight strap to the dimples to

the stitching and the fit.

        117. Plaintiff would not have purchased the Product or paid as much if the true facts had

been known, suffering damages.

                             Violation of State Consumer Fraud Acts
                               (Consumer Fraud Multi-State Class)

        118. The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State Class are

similar to the consumer protection statute invoked by Plaintiff and prohibit the use of unfair or

deceptive business practices in the conduct of commerce.

        119. The members of the Consumer Fraud Multi-State Class reserve their rights to assert

their consumer protection claims under the Consumer Fraud Acts of the States they represent

and/or the consumer protection statute invoked by Plaintiff.

        120. Defendant intended that members of the Consumer Fraud Multi-State Class would

rely upon its deceptive conduct, which they did, suffering damages.




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                                 Breaches of Express Warranty,
               Implied Warranty of Merchantability/Fitness for a Particular Purpose
                 and Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

        121. The Product was manufactured, identified, marketed, and sold by Defendant and

expressly and impliedly warranted to Plaintiff that it was authentic, understood as being the same

jersey that NHL players wear during hockey games, from the fight strap to the dimples to the

stitching and the fit.

        122. Defendant directly marketed the Product to Plaintiff through its advertisements and

marketing, through various forms of media, on the packaging, in print circulars, direct mail,

product descriptions, and targeted digital advertising.

        123. Defendant knew the product attributes that potential customers like Plaintiff were

seeking, such as pro-stock, on-ice game-ready hockey jerseys with features like a fight strap, real

pressed dimples, stitched logos, names, and numbers, and developed its marketing and labeling to

directly meet their needs and desires.

        124. The representations about the Product were conveyed in writing and promised it

would be defect-free, and Plaintiff understood this meant it was authentic, understood as being the

same jersey that NHL players wear during hockey games, from the fight strap to the dimples to

the stitching and the fit.

        125. Defendant’s representations affirmed and promised that the Product was authentic,

understood as being the same jersey that NHL players wear during hockey games, from the fight

strap to the dimples to the stitching and the fit.

        126. Defendant described the Product so Plaintiff believed it was authentic, understood as

being the same jersey that NHL players wear during hockey games, from the fight strap to the

dimples to the stitching and the fit, which became part of the basis of the bargain that it would




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conform to its affirmations and promises.

       127. Defendant had a duty to disclose and/or provide non-deceptive promises,

descriptions and marketing of the Product.

       128. This duty is based on Defendant’s outsized role in the market for NHL jerseys, the

official manufacturer of the jerseys worn on the ice by NHL players, and known as a leader in

sportswear.

       129. Plaintiff recently became aware of Defendant’s breach of the Product’s warranties.

       130. Plaintiff provided or provides notice to Defendant, its agents, representatives,

retailers, and their employees that it breached the Product’s warranties.

       131. Defendant received notice and should have been aware of these issues due to

complaints by consumers and third-parties, including regulators and competitors, to its main

offices and through online forums.

       132. The Product did not conform to its affirmations of fact and promises due to

Defendant’s actions.

       133. The Product was not merchantable because it was not fit to pass in the trade as

advertised, not fit for the ordinary purpose for which it was intended and did not conform to the

promises or affirmations of fact made on the packaging, container, or label, because it was

marketed as if it was authentic, understood as being the same jersey that NHL players wear during

hockey games, from the fight strap to the dimples to the stitching and the fit.

       134. The Product was not merchantable because Defendant had reason to know the

particular purpose for which they were bought by Plaintiff, because he expected that it was

authentic, understood as being the same jersey that NHL players wear during hockey games, from

the fight strap to the dimples to the stitching and the fit, and he relied on its skill and judgment to




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select or furnish such a suitable product.

                                    Negligent Misrepresentation

       135. Defendant had a duty to truthfully represent the Product, which it breached.

       136. This duty was non-delegable, and based on Defendant’s position, holding itself out

as having special knowledge and experience in this area, the official manufacturer of NHL jerseys,

and known as a leader in sportswear.

       137. Defendant’s representations regarding the Product went beyond the specific

representations affixed to the jerseys and describing them on its own websites and those of its

third-party sellers, as they incorporated its extra-labeling promises and commitments to quality, as

the manufacturer of actual on-ice NHL jerseys

       138. These promises were outside of the standard representations that other companies

may make in a standard arms-length, retail context.

       139. Defendant capitalized on the intense connection that fans like Plaintiff have with

their favorite hockey team to entice them to buy – and wear – the same jerseys worn by their

favorite players during NHL games.

       140. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in Defendant.

       141. Plaintiff reasonably and justifiably relied on these negligent misrepresentations and

omissions, which served to induce and did induce, his purchase of the Product.

                                                Fraud

       142. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it was authentic, understood as being the same jersey that NHL players wear during hockey

games, from the fight strap to the dimples to the stitching and the fit.




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       143. Defendant understands the differences between authentic and replica jerseys, and has

stated that “a replica uniform will not be ‘authentic’ and, therefore, not desirable to consumers

unless it contains all the elements of the uniform worn in competition.”

       144. Defendant was aware of the distinctions between replica and authentic jerseys due to

its history and involvement as a producer of jerseys for the NHL and other athletic leagues.

       145. Moreover, the records Defendant is required to maintain, and/or the information

inconspicuously disclosed to consumers, provided it with actual and constructive knowledge of

the falsity or deception, through statement and omission, of the representations.

       146. Defendant knew of the issues described here yet did not address them.

       147. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations, because it was made from different materials, using different

methods, which resulted in jerseys of lower quality than those worn on the ice by NHL players.

                                         Unjust Enrichment

       148. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of Plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Certifying Plaintiff as representative and the undersigned as counsel for the classes;

   2. Entering preliminary and permanent injunctive relief by directing Defendant to correct the

       challenged practices to comply with the law;

   3. Awarding monetary, statutory and/or punitive damages and interest;

   4. Awarding costs and expenses, including reasonable attorney and expert fees; and


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   5. Other and further relief as the Court deems just and proper.

Dated: March 18, 2023
                                                      Respectfully submitted,

                                                      /s/ Spencer Sheehan
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